
902 So.2d 1049 (2005)
Fletter C. TAYLOR
v.
LSU MEDICAL CENTER.
No. 2005-C-0480.
Supreme Court of Louisiana.
May 20, 2005.
In re Board of Supervisors, LSU &amp; Agriculture College; LSU Health Sciences Center in Shreveport;  Defendant(s); Applying for Writ of Certiorari and/or Review, Parish of Caddo, 1st Judicial District Court Div. I, No. 460,572; to the Court of Appeal, Second Circuit, No. 38,944-CA.
Denied.
TRAYLOR, J., would grant the writ.
WEIMER, J., would grant the writ.
